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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_______________________________________

CHRISTOPHER R. GERARDI and
VICKIE A. GERARDI,

                                       Plaintiffs,              Civ. Action No. 1:16-CV-01092

      -against-

AMICA MUTUAL INSURANCE COMPANY,

                                       Defendant.

________________________________________


                           JOINT STIPULATION OF DISMISSAL


              IT IS HEREBY STIPULATED AND AGREED, by and between the parties,

that this action shall be dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, each party to bear their own costs and fees.

DATED:        Buffalo, New York
              April 24, 2017



FOR THE PLAINTIFFS:                                     FOR THE DEFENDANT:


/s/ John J. Hoke                                        /s/ Roy A. Mura
____________________________                            ____________________________
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